          Case 1:15-cr-00286-ADA-BAM Document 326 Filed 05/14/18 Page 1 of 2



 1 [McGREGOR W. SCOTT
    United States Attorney
 2 KAREN A. ESCOBAR
    Assistant United States Attorney
 3 2500 Tulare St., Suite 4401
    Fresno, CA 93721
 4 Telephone: (559) 497-4000
    Facsimile: (559) 497-4575
 5
    Attorneys for Plaintiff
 6 United States of America

 7

 8                                 UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          Case No. 1:15-cr-00286-DAD-BAM-2
12                                Plaintiff,            STIPULATION AND ORDER
                                                        REGARDING CONTINUANCE
13                 v.
14   ZAID ELODAT,
15                                Defendant.
16

17                                             STIPULATION

18

19          Plaintiff United States of America, by and through its counsel of record, and defendant, by

20 and through his counsel of record, hereby stipulate as follows:

21          1.     By previous order, this matter was set for sentencing on Monday, June 25, 2018, at

22 10:00 a.m.

23          2.     By this stipulation, the parties now move to continue the matter to Tuesday,

24 November 13, 2018, at 10:00 a.m.

25          3.     The parties further stipulate to the following schedule:

26          Informal Objections Due:                                           October 15, 2018

27          Final PSR Filed with the Court:                                    October 22, 2018

28          Formal Objections to PSR/Sentencing Memo due:                      October 29, 2018
                                                 1
29

30
         Case 1:15-cr-00286-ADA-BAM Document 326 Filed 05/14/18 Page 2 of 2



 1        Responses to Formal Objections/Reply to Sentencing Memo:     November 5, 2018

 2        IT IS SO STIPULATED.

 3 DATED:       May 12, 2018        Respectfully submitted,
 4                                  McGREGOR W. SCOTT
                                    United States Attorney
 5

 6                                  /s/ Karen A. Escobar
                                    KAREN A. ESCOBAR
 7                                  Assistant United States Attorney
 8 DATED:       May 12, 2018
 9                                  /s/ Edward Robinson
                                    EDWARD ROBINSON
10                                  Counsel for Defendant
                                    Zaid Elodat
11

12

13                                         ORDER
14
     IT IS SO ORDERED.
15

16     Dated:   May 14, 2018
                                               UNITED STATES DISTRICT JUDGE
17

18

19
20

21

22

23

24

25
26

27

28
                                                2
29

30
